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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA

                                            TAMPA DIVISION

                                    CASE NO.: 8:21-cv-00420-CEH-SPF

                                     AT LAW AND IN ADMIRALTY

 IN RE: INTREPID MARINE TOWING
 & SALVAGE, INC. d/b/a SEA TOW
 CLEARWATER/PORT RICHEY and
 JASON PATRICK LAMB as owners of a
 1998 WORLD CAT 266SS, Vessel
 Identification Number EPY662178898,
 FL Registration Number FL3588KF, FOR
 EXONERATION AND/OR
 LIMITATION OF LIABILITY

        Petitioners,

 v.

 NICHOLAS CACHUSSIE, an
 individual; ADRIENNE CACHUSSIE,
 an individual; and CHERYL WATKINS,
 an individual.

         Claimants.

                                              /

                                  NOTICE OF APPEARANCE

         NICHOLAS S. COSTANTINO, ESQUIRE of Florin Roebig, P.A., hereby files a Notice of

  Appearance as counsel for Claimants, NICHOLAS CACHUSSIE, ADRIENNE CACHUSSIE and

  CHERYL WATKINS, and hereby requests that all future pleadings, motions, notices, orders and

  other documents filed by the parties and the Court be served upon the undersigned.

                                                  Respectfully submitted,

                                                  FLORIN ROEBIG, PA

                                                   /s/ Nicholas S. Costantino
                                                  __________________________
                                                  Nicholas S. Costantino, Esquire
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Case 8:21-cv-00420-CEH-SPF           Document 16-4 Filed 05/17/21 Page 2 of 2 PageID 97
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                                                          Attorney for the Claimants


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

  Court via CM/ECF on this 17th day of May, 2021. We also certify that the foregoing was served on

  all counsel or parties of record on the attached Service List either via transmission of Notices of

  Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

  parties who are not authorized to receive electronic Notices of Filing.


                                                    By: _/s/ Nicholas S. Costantino
                                                         Nicholas S. Costantino Esquire
                                                          (FBN: 6504045)
                                                        Email: ncostantino@florinroebig.com
